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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                     CASE NO: 17-14047-CR-MIDDLEBROOKS

  UNITED STATES OF AMERICA,

                    Plaintiff,

  vs.

  SCOTT JOSEPH TRADER,

                    Defendant.
  __________________________________/


                                 NOTICE OF APPEAL

        Notice is hereby given that Scott Joseph Trader, defendant in the above

  named case, hereby appeals to the United States Court of Appeals for the Eleventh

  Circuit from the final judgment and commitment (DE 40) entered in this action on

  the 8th day of December, 2017.


                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         Federal Public Defender


                                   By:    s/Fletcher Peacock____________
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                             CERTIFICATE OF SERVICE

        I HEREBY certify that on December 18, 2017 I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record or pro se

  parties identified on the attached Service List in the manner specified, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                           By s/Fletcher Peacock__________




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         UNITED STATES OF AMERICA V. SCOTT JOSEPH TRADER
                  Case No. 17-14047-CR-MIDDLEBROOKS
          United States District Court, Southern District of Florida



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